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15
                                 IN THE UNITED STATES DISTRICT COURT
16
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17

18
      CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-CV-04155-YGR
19    PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
      A.S.; and L.T., individuals on behalf of themselves    DECLARATION OF CARSON D.
20    and all others similarly situated,                     ANDERSON IN SUPPORT OF
                                                             ADMINISTRATIVE MOTION TO
21                   Plaintiffs,                             CONSIDER WHETHER ANOTHER
22           v.                                              PARTY’S MATERIAL SHOULD BE
                                                             SEALED REGARDING PORTIONS
23    UNITED STATES OF AMERICA FEDERAL                       OF PLAINTIFFS’ REPLY POST-
      BUREAU OF PRISONS, et al.,                             EVIDENTIARY HEARING BRIEF
24
                     Defendants.
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     Anderson Decl. ISO AMFUS re Plaintiffs’ Reply                  Case No. 4:23-CV-04155-YGR
      Case 4:23-cv-04155-YGR            Document 178-1         Filed 02/23/24    Page 2 of 2




 1          I, Carson Dean Anderson, hereby declare as follows:

 2          1.      I am an attorney admitted to practice law in the State of California (SBN 317308).
 3
     I am a Senior Associate at the law firm of Arnold & Porter Kaye Scholer LLP and counsel for
 4
     Plaintiffs in the above captioned matter.
 5
            2.      I submit this declaration in support of Plaintiffs’ Administrative Motion To
 6
     Consider Whether Another Party’s Material Should Be Sealed Regarding Portions Of Plaintiffs’
 7

 8   Reply Post-Evidentiary Hearing Brief. I have personal knowledge of the facts stated herein and,

 9   if called as a witness, could and would testify competently thereto.
10          3.      The highlighted portions of Plaintiffs’ Reply Post-Evidentiary Hearing Brief at
11
     6:10-12, 6:17, 10:12, and 10:6-11:1 refer to material that the Federal Defendants have filed under
12
     seal in this matter, or is derived from such material.
13
            I declare under penalty of perjury that the foregoing is true and correct. Executed in San
14

15   Bruno, California, on this 23rd day of February, 2024.

16
                                                    ARNOLD & PORTER KAYE SCHOLER LLP
17

18                                                  By: /s/ Carson D. Anderson
                                                        Carson D. Anderson
19
                                                    Attorneys for Plaintiffs
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                                                 1
     Anderson Decl. ISO AMFUS re Plaintiffs’ Reply                       Case No. 4:23-CV-04155-YGR
